Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 1of50 Page ID #:602

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SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

A Limited Liability Partnership _

Including Professional Corporations us
KARIN DOUGAN VOGEL, Cal. Bar No. 131768 o
Email: kvo el@she ardmullin.com
J. BARRE , Cal. Bar No. 228628
Email: bmarum@sheppardmullin.com 30
501 West Broadway th Floor =
San Diego, CA 92101-3598 : :
Telephone: 619-338-6500 =
Facsimile: 619-234-3815 ns

SHEPPARD, MULLIN, RICHTER & HAMPTON LLP tee
A Limited Liability Partnership _ _
Including Professional Corporations

FRED R. PUGLISI, Cal. Bar No. 121822

Email: fpuglisi@sheppardmullin com

1901 Avente of the Stars, Suite 1600

Los Angeles, CA 90067-6017

Telephone: 310-228-3700

Facsimile: 310-228-3701

Attorneys for Defendant
FEDERAL DEPOSIT INSURANCE CORPORATION,
as Receiver for NetBank, FSB
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

RONNIE CLAYTON dba CLAYTON_ | Case No. =
TRUCKING; JEAN HOGUE; VASILE

BORTIS dba BORTIS EXHIBITS TO NOTICE OF
PERFORMANCE MACHINE CO.: REMOVAL OF ACTION {Los ae
MARIA BORTIS: ANDREW ANGELES SUPERIOR COURT \=
MICKLOS dba MIC TRUCKING; PLEADINGS FILED IN CASE NO.
RAUL BARRILE dba BARR BC 253169 PART TWO OF

MACHINE SHOP: DIJAMAAN, INC., | FOURTEEN)

dba PRESTIGE AUTO SERVICE;

ESHRAT THOBANTI, AZIM
THOBANI: HENRY MONTGOMERY
dba PICTURE PERFECT
AUDIENCES: DAPHNEY
MONTGOMERY: MALIBU FARMS,
INC.; JEFFERY GLASER;
McCORMIC FRESH HERBS, LLC;
PRECISION RELOCATION, LLC:
PREMIER OFFICE SERVICES, LLC;
KIRK O'GILVY: DOUGLAS
PIERSANT: BOBBY J. HAMBY, JR.,
D.C. dba WALNUT FAMILY
CHIROPRACTIC; OLENA HANBY;
WHITE AND YELLO CAB, INC. dba

 

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A TAXI CAB; HOSSEIN NEBATI;
ST. CLAIR THOMAS: WILLIAM
LEIGON AND ASSOCIATES, INC.
dba HUNTINGTON WINE CELLARS;
WILLIAM L. LEIGON dba WILLIAM
LEIGON & ASSOCIATES: DENAE
LEIGON; ROBERT HOUCHIN, DDS,
PSCA, INC.; EDUARDO RAMIREZ
dba BAG SPECIALISTS; MIGUEL
ELIAS dba REVCO INDUSTRIES;
DIANA RODRIGUEZ dba BIO
DIAGNOSTIC IMAGING and dba
ADVANCED BIO DIAGNOSTICS;
THE WILLIS BALLET, INC.:
PEGGY WILLIS; PAUL AARNIO;
PROVIDENT MEDICAL
MANAGEMENT GROUP, INC.:
SHAWN DODD: JAMES C. DODD;
PINNACLE DISPOSAL AND
ENVIRONMENTAL SERVICES,
INC.; TIMOTHY DANIEL

MAL C ZYNSKI; ROBERT LEE

Plaintiffs,
Vv.

RONALD FISHER, an individual;
STERLING WAYNE PERTLE,

an individual; MARK FISHER, an
individual: CMC LEASE FUNDING
1998-1, LLC; CMC LEASE FUNDING
Il, INC.; CMC LEASE FUNDING
2000-220, L.P., a Texas Limited
Partnership; CMC LEASE FUNDING,
LLC; CMC LEASE FUNDING 2000-1,
INC.: CMC LEASE FUNDING 2000-2,
INC.: CMC LEASE FUNDING 2001-1,
INC.: CMC LEASE FUNDING 2001-2,
INC.: CMC LEASE FUNDING 2001-3,
INC.: CMC LEASE FUNDING III:
AMWEST SURETY INSURANCE
COMPANY, INC., a Nebraska
Corporation; SAFECO SURETY
COMPANY, a Washington
Corporation, ILLINOIS UNION
INSURANCE COMPANY; RANGER
INSURANCE COMPANY, a Delaware
Corporation; FRONTIER

IN CE COMPANY:
AMERICAN MOTORISTS
INSURANCE COMPANY; RLI
INSURANCE COMPANY: ROYAL

AND SUN ALLIANCE USA; EPIC _|

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2 of 50 Page ID #:603

 

EXHIBITS TO NOTICE OF REMOVAL OF ACTION

 
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FUNDING CORPORATION;
NETBANK, INC., a Georgia
Corporation; FOOTBRIDGE LIMITED
TRUST, a Bermuda Trust Cmpany;
GENERAL ELECTRIC CAP
CORPORATION, a New York
Corporation: GUARDIAN CAPITAL
V, LLC; GUARDIAN CAPITAL VIL
LLC; GUARDIAN CAPITAL VIII
LLC; GUARDIAN CAPITAL IX, LLC:
GUARDIAN CAPITAL XIV, LLC:
GUARDIAN CAPITAL XV, LLC:
GUARDIAN CAPITAL XVIII, LLC;
GUARDIAN FINANCIAL, INC.
DIVERSITY CAPITAL IL, LLC:
CITIBANK,, N.A., AMERIANA
BANK & TRUST OF INDIANA;
ATLANTIC COAST FEDERAL, a
Federal Savings Bank: BANK OF
WAUKEGAN: BLUEBONNET
SAVINGS BANK, FSB; RIVERWAY
BANK; UNITED SECURITY BANK:
LAKELAND BANK: SKY BANK;
THE HUNTINGTON NATIONAL
BANK: THE METROPOLITAN
BANK & TRUST: THE SECOND
NATIONAL BANK: STUART
ALLAN; U.S. BANCORP; CASH
RECOVERY, LLC; and DOES 1
through 720, inclusive,

Defendants.

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EXHIBITS TO NOTICE OF REMOVAL OF ACTION

 
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Clayton v. Commercial Money Center
Los Angeles County Superior Court - Central District - Case No. BC 253 169

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Pleadings Index - Volume 2

  

4of50 Page ID #:605

 

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15.

Status Conference Questionnaire

llinois Union

01-09-02

 

16.

Status Conference Questionnaire

Plaintiffs

01-11-02

 

17.

Status Conference Questionnaire

CMC, et al.

01-15-02

 

18.

Minute Order

Court

01-16-02

 

19.

Notice of Ruling re Setting
Demurrer; Writ of Possession; and
Writ of Attachment on Calendar;
Setting of Issue Conference re
Declaratory Relief

Clayton, et al.

01-18-02

 

20.

Additional Authority re Opposition
to Demurrer

Clayton, et al

01-22-02

 

21.

Stipulation and Order re Discovery
Resolution

Clayton, et al

01-23-02

 

22.

Opposition of Defendants
Commercial Money Center, Inc.;
Ronald Fisher; Sterling Wayne
Pirtle; Commercial Servicing
Corporation; and Safeco Surety
Company to Plaintiffs’ Additional
Authority re Opposition to Demurrer

CMC, et al

01-28-02

 

23.

Statement of Decision re: Demurrer
and Motion to Strike of Defendants

CMC, et al.

02-02-02

 

24.

Joint Stipulation re Discovery
Concerning Potential Party-
Defendants

CMC, et al.

02-05-02

 

25.

 

 

Stipulation re Claims and Remedies
Asserted Against Defendant, Ilinois
Union Insurance Company and
Order Thereon

 

Iinois Union

02-13-02

 

 

 

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Case 2:08-cv-01755-PSG-VB

  

Clayton v. Commercial Money Center
Los Angeles County Superior Court - Central District - Case No. BC 253 169

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Pleadings Index - Volume 2

Document 3 Filed 03/14/08 Page 5of50 Page ID #:606

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

26. Request for Dismissal (Ist and 2nd | Hiinois Union — | 02-13-02
Causes of Action Only)
27. Minute Order Court 02-13-02
28. Plaintiffs Memorandum of Points Clayton 02-19-02
and Authorities re Whether a Lease
Can Be a Loan
29. Memorandum of Points and CMC, et al. 02-20-02
Authorities re Lease v. Loan
30. Minute Order Court 02-02-02
3. Minute Order Court 02-21-02
32. Minute Order Court 02-28-02
33. Answer to First Amended Complaint | CMC, et al. 03-05-02
34... Minute Order Court 04-12-02
35. Substitution of Attorney SafeCo 05-08-02
36. Notice of Errata and Schedule of Plaintiffs 05-21-02
Named Doe Defendants
37. Amendment to Complaint - DOES Plaintiffs 05-31-02
18 and 26 :
138. Notice of Continuance of Status Plaintiffs 05-31-02
Conference by Court's Own Motion
39. Notice of Filing of Notice of Royal 07-01-02
Removal Under 28 U.S.C. § 1452(a) | Indemnity
and Rule 9027 of the Federal Rules
of Bankruptcy Procedure
40. Proof of Service re Notice of Filing | Royal 07-03-02
of Notice of Removal Under 28 Indemnity
U.S.C. § 1452(a) and Rule 9027 of
the Federal Rules of Bankruptcy
Procedure

 

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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 6of50 Page ID #:607

 

 

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Clayton v. Commercial Money Center
Los Angeles County Superior Court - Central District - Case No. BC 253 169

08H9-100416

Pleadings Index - Volume 2

 

 

 

 

 

 

 

 

 

 

 

41. Notice of State Court of Filing Royal & 07-16-02
Amended Notice of Removal Sunalliance

42. Notice to Parties re Non-Appearance | Royal & 07-16-02
Case Review Sunalliance

43. Notice of Riling Notice of Errata Royal & 07-16-02
Regarding June 27, 2002 Notice of | Sunalliance
Removal

44. Notice of Remand and Request for | Plaintiffs 04-23-03
Status Conference

45, Notice of Ruling Status Conference | Plaintiffs 05-20-03

46, Proposed Order Permitting Bluebonnet: 05-27-03
Admission of Mitchell
Berger Pro Hac Vice

47, Defendant Bluebonnet Bluebonnet 05~27-03

Savings Bank's

Avplication to Admit

Mitchell Berger Pro Hac Vice;
Declaration of Mitchell Berger
and Mark E. Beck in Support
Thereof

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Beck, De Corso, Daly,
Kreindier & Harris
A Professional Law Corporation
601 W. 5” Street, 12 Floor
Los Angeles, CA 90071-2025

08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 8 of 50 Page ID #:609

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

RONNIE CLAYTON dba CLAYTON Case No. BC 253169
TRUCKING, et al.,

[PROPOSED] ORDER PERMITTING

Plaintiffs, ADMISSION OF MITCHELL BERGER
PRO HAC VICE

COMMERCIAL MONEY CENTER,
INC., et al.,

Defendants.
)

 

TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

The Application of Defendant Bluebonnet Savings Bank FSB (“Bluebonnet”) to
admit Mitchell Berger pro hac vice was submitted to the Honorable Charles W. McCoy in
Department 323 of the above entitled Court on June 10, 2003.

Having considered the Application and evidence submitted by Bluebonnet, the
pleadings and record on file, and oral argument at the hearing on this matter, and good
cause appearing therefore,

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119911} [PROPOSED] ORDER PERMITTING ADMISSION OF MITCHELL BERGER PRO HAC VICE

 
1 Case 2;08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 9of50 Page ID #:610

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A Professional Law Corporation
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Los Angeles, CA 90071-2025

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IT IS HEREBY ORDERED THAT:

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Defendant Bluebonnet’s Application to admit Mitchell Berger pro hac vice is

GRANTED.
IT IS SO ORDERED.

Dated:

Respectfully submitted,

Mark E. Beck

Anthony A. De Corso

Eric A. Gressler

BECK, DE CORSO, DALY,
KREINDLER & HARRIS

A Professional Law Corporation

601 West Fifth Street, 12" Floor

Los Angeles, CA 90071-2025

KL.

———

 

 

ERIC A. GRESSLER
Attorneys for defendant
Bluebonnet Savings Bank FSB

JUDGE CHARLES W. McCOY
Judge of the Superior Court

2

[PROPOSED] ORDER PERMITTING ADMISSION OF MITCHELL BERGER PRO HAC VICE

 
i Case 2:(98-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 10 of 50 Page ID #:611

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Kreindier & Harris
A Professional Law Corporation
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PROOF OF SERVICE
Clayton v. Commercial Money Center
Case No. BC 253169

 

I am a resident of the State of California, over the age of eighteen years, and not a party to the
within action. My business address is 601 W. 5" Street, 12" Floor, Los Angeles, California 90071-2025.
On May 27, 2003, I served the within documents.

[PROPOSED] ORDER PERMITTING ADMISSION OF MITCHELL BERGER
PRO HAC VICE

BY FAX: by transmitting via facsimile the document(s) listed above to the fax number(s) set
C) forth below on this date before 5:00 p.m. The transmission was reported as complete and
without error and was properly issued by the transmitting facsimile machine.

BY HAND: by personally delivering the document(s) listed above to the person(s) at the
address(es) set forth below.

BY MAIL: by placing the document(s) listed above in a sealed envelope with postage thereon
fully prepaid, in the United States mail at Los Angeles, California addressed as set forth below.

BY OVERNIGHT MAIL: by causing document(s) to be picked up by an overnight delivery
service company for delivery to the addressee(s) on the next business day.

BY PERSONAL DELIVERY: by causing personal delivery by of
the document(s) listed above to the person(s) at the address(es) set forth below.

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mailing. Under that practice, it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of that party
served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
after date of deposit for mailing in affidavit.

I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.

Wika Selah

Alexa Robison

Executed on May 27, 2003, at Los anpeles, California.

 
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Kreindier & Harris
A Professional Law Corporation
601 W. 5” Street, 12” Floor
Los Angeles, CA 90071-2025

120045 |

 

SERVICE LIST
Clayton v, Commercial Money Center

 

Case No. BC 253169

Thomas McCurnin, Esq.

Mark A. Newton, Esq.

Barton Klugman & Oetting, LLP

333 South Grand Avenue, Suite 3700
Los Angeles, CA 90071 -

Tel: (213) 621-4000

Fax: (213) 625-1832
temccurnin@bkolaw.com
mnewto@bkolaw.com

Attorneys for Plaintiffs Ronnie Clayton, etc.,
et al.

John Rapore, Esq.

Gilchrist & Rutter

1299 Ocean Avenue, Suite 900
Santa Monica, CA 90401

Tel: (310) 393-4000

Fax: (310) 393-4026
jr(@grlawyers.com

Attorneys for Atlantic Coast Federal

George Wang, Esq.
Simpson, Thacher & Bartlett
425 Lexington Avenue

New York, NY 10017

Tel: (212) 455-2228

Fax: (212) 455-2502

gwang@stblaw.com
Attorneys for CitiBank

Stephen P. Soskin, Esq.

Charlston, Revich & Chamberlin
1840 Century Park East, Third Floor
Los Angeles, CA 90067

Tel: (310) 551-7000

Fax: (310) 203-9321

. ssoskin@crclip.com

Attorneys for Epic Funding

Rhonda L. Nelson, Esq.

Severson & Werson

One Embarcadero, Suite 2600

San Francisco, CA 94111

Tel: (415) 398-3344

Fax: (415) 956-0439

rin@severson.com

Attorneys for Footbridge Limited Trust

Andrew K. Alper, Esq.

Thomas M. Robbins, Esq.

Frandzel Robins Bloom & Csato, L.C.
6500 Wilshire Boulevard, 17th Floor
Los Angeles, CA 90048-4920

Tel: (323) 852-1000

Fax: (323) 651-2577
aalper@frandzell.com

Attorneys for Ameriana Bank and Trust

Jay T. Hoplins, Esq.

Cobeaga Tomlinson LLP

228 South Fourth Street, Third Floor
Las Vegas, NV 89101

Tel: (702) 240-2499

Fax: (702) 240-2489 —

jhopkins@cotomlaw.com
Attorneys for Bank of Waukegan

Steven H. Bergman, Esq.

Simpson, Thacher & Bartlett

10 Universal City Plaza, Suite 1850
Universal City, CA 91608

Tel: (818) 755-9612

Fax: (818) 755-7009

sbergman@stblaw.com
Attorneys for CitiBank

Scott J. Hyman, Esq.

Adam A. Hutchinson, Esq.
Severson & Werson

19100 Von Karman, Suite 700
Irvine, CA 92612

Tel: (949) 442-7110

Fax: (949) 442-7118
aah@severson.com

sih@severson.com
Attorneys for Footbridge Limited Trust

Maureen F. Hallahan, Esq.

Procopio, Cory, Hargreaves & Savitch
530 B Street, Suite 2100

San Diego, CA 92101

Tel: (619) 238-1900

Fax: (619) 235-0398

mfh@procopio.com
Attorneys for GE CAPITAL

 

 
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Beck, De Corso, Daly,
Kreindler & Harris
A Professional Law Corporation
601 W. 5” Street, 12° Floor
Los Angeles, CA 90071-2025

120045 |

B. Casey Yim, Esq.

Pivo Halbreich Cahill & Yim
Attorneys & Trial Lawyers
1920 Main Street, Ste. 800
Irvine, CA 92614

Tel: (949) 253-2000

Fax: (949) 253-2099
beyim@phcv.com

Attorneys for Guardian Capital

Hilary Harp, Esq.

Powell Goldstein Frazer & Murphy LLP
191 Peachtree St., NE, 16th Floor
Atlanta, GA 30303-1736

Tel: (404) 572-4531

Fax: (404) 572-6999

hha fm.com

Attorneys for Net Bank

Laura Taylor, Esq.

Sheppard Mullin Richter & Hampton LLP
501 West Broadway, 19" Floor

San Diego, CA 92101

Tel: (619) 338-6500

Fax: (619) 234-3815

Attorneys for Net Bank

John E. Peterson

Jory, Peterson, Watkins & Smith
555 West Shaw Avenue, C-1
Fresno, CA 93704

Tel: (559) 225-6700

Fax: (559) 225-3416

jep@jpws.com
Attorneys for United Security Bank

Jim Patterson, Esq.
Michelle C. Doolin, Esq.
Cooley Godward

4401 Eastgate Mall

San Diego, CA 92121
Tel: (858) 550-6000
Fax: (858) 550-6420

j patterson@cooley com

mdoolin@cooley.com
Attorneys for Royal Indemnity Company

 

)8-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 12 o0f50 Page ID #:613

SERVICE LIST
Clayton v. Commercial Money Center
Case No. BC 253169

Robert G. Campbell, Esq.

Cox, Castle & Nicholson, LLP
2049 Century Park East, 28th Floor
Los Angeles, CA 90067-3284

Tel: (310) 277-4222

Fax: (310) 277-7889

rcampbell@coxcastle.com
Attorneys for Lakeland Bank

John R. Pennington, Esq.

John D. Berchild, Jr., Esq.

Sheppard Mullin Richter & Hampton LLP
333 S. Hope Street, 48th Floor

Los Angeles, CA 90071

Tel: (213) 620-1780

Fax: (213) 620-1398

jpennington@smrh.com

jberchild@smrh.com
Attorneys for Net Bank

Jay T. Hoplins, Esq.

Cobeaga Tomlinson LLP

228 South Fourth Street, Third Floor
Las Vegas, NV 89101

Tel: (702) 240-2499

Fax: (702) 240-2489

jhopkins@cotomlaw.com
Attorneys for Riverway Bank

Christian Gascou, Esq.

Ronald Hopkins, Esq.

Gascou Hopkins LLP

10990 Wilshire Boulevard, Suite 1280

Los Angeles, CA 90024

Tel: (310) 445-1816

Fax: (310) 445-1886
cgascou@gascouhopkins.com
rhopkins@gascouhopkins.com

Attorneys for American Motorists Insurance

Peter Wolfson, Esq.

Sonnenschein Nath & Rosethal

1221 Avenue of the Americas, 24" Floor
New York, NY 10020

Tel: (212) 768-6828

Fax: (212) 768-6700
pwolfson@sonnenschein.com

Attorneys for Royal Indemnity Company

 

 
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08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 13 0f50 Page ID #:614

SERVICE LIST
Clayton v. Commercial Money Center

 

Case No. BC 253169

Paul A. Guelpa, Esq.

Mitchell Silberberg & Knupp LLP
11377 West Olympic Boulevard
Los Angeles, CA 90064-1683
Tel: (310) 312-2000

Fax: (310) 312-3788
pag@msk.com

Attorneys for IHinois Union

Michael Prough, Esq.

Morison-Knox, Holden, Melendez & Prough

500 Ygnacio Valley Road, Suite 450
Walnut Creek, CA 94596

Tel: (925) 974-5103

Fax: (925) 937-3272
mdp@morison-knox.com

Attorneys for RLI Insurance

Dean P. Sperling, Esq.

201 East Sanpointe, Suite 220
Santa Ana, CA 92707

Tel: (714) 438-8090

Fax: (714) 438-8088

dean@sperlinglaw.com
Attorney for Stuart Allen

State Bar of California
180 Howard Street
San Francisco, CA 94105

Thomas T. Johnson, Esq.

Booth Mitchel & Strange LLP

3435 Wilshire Boulevard, 30th Floor
Los Angeles, CA 90010-2050

Tel: (213) 738-0100

Fax: (213) 380-3308
ttibms@aol.com

Attorneys for Safeco Insurance

Jeff Fulton, Esq.

_ Law Offices of Jeff Fulton

1545 Hotel Circle South, Suite 140
San Diego, CA 92108

Tel: (619) 688-0018

Fax: (619) 688-0088

wijefferyfulton@aol.com
Attorneys for U.S. BankCorp

Wendy Miller, Esq.

Harold P. Gewerter, Esq.,

228 South Fourth Street, Suite 101

Las Vegas, NV 89101

Tel: (702) 382-1714

Fax: (702) 382-1759

Wendymil@msn.com

Attorneys for Comemrcial Money Center,
Ron Fisher and Sterling Wayne Pirtle

 

 
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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 14 0f50 Page ID #:615

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Mark E. Beck, SBN 65163

Anthony A. De Corso, SBN 110453

Eric A. Gressler, SBN 186674

BECK, DE CORSO, DALY, KREINDLER & HARRIS
A Professional Law Corporation

601 West Fifth Street, 12" Floor

Los Angeles, CA 90071-2025

TEL (213) 688-1198 * FAX (213) 489-7532

Attorneys for defendant
Bluebonnet Savings Bank FSB

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

RONNIE CLAYTON dba CLAYTON
TRUCKING, et al.,

Case No. BC 253169
[Assigned to the Hon. Charles W. McCoy,
Central Civil West]

?
Plaintiffs, DEFENDANT BLUEBONNET
SAVINGS BANK’S APPLICATION TO
ADMIT MITCHELL BERGER PRO HAC
VICE; DECLARATIONS OF MITCHELL
BERGER AND MARK E. BECK IN

)

SUPPORT THEREOF

DATE: June 10, 2003
TIME: 10:00 a.m.
DEPT.:: 323

COMMERCIAL MONEY CENTER,
INC., et al.,

Defendants.

 

TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

Defendant Bluebonnet Savings Bank FSB (“Bluebonnet”) makes this Application
to the Court pursuant to Rule 983 of the California Rules of Court for an order admitting
Mitchell Berger of Patton Boggs LLP, 2550 M Street, N.W., Washington, D.C. 20037
(202) 457-6000, to appear pro hac vice in this case as co-counsel for Defendant
Bluebonnet. |

This Application is made on the grounds that Mr. Berger is counsel for Bluebonnet
in Washington, D.C., is an active member in good standing of the State Bars of New York

_and the District of Columbia, and is eligible to practice before all courts of New York and

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DEFENDANT BLUEBONNET SAVINGS BANK’S APPLICATION TO ADMIT MITCHELL BERGER PRO

 

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} HAC VICE; DECLARATIONS OF MITCHELL BERGER AND MARK E. BECK IN SUPPORT THEREOF

 
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Beck, De Corso, Daly,
Kreindier & Harris

A Professional Law Corporation || .

601 W. 5” Street, 12” Floor
Los Angeles, CA 90071-2025

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)8-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 16 of 50 Page ID #:617

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the District of Columbia, among others. Mr. Berger does not reside in California, nor is
he regularly employed in California or regularly engaged in professional activities in
California. Mr. Berger and Bluebonnet have retained and have designated as counsel in
this matter Mark E. Beck and the law firm of Beck, De Corso, Daly, Kreindler & Harris,
A Professional Law Corporation. ‘Mr. Beck is an active member in good standing of the
State Bar of California and admitted to practice before all courts of the State of
California, among others. Mr. Beck maintains an office in Los Angeles, California at 601
West Fifth Street, 12" Floor, Los Angeles, California, 90071.

This Application is based upon this Application, the Declarations of Mitchell
Berger and Mark E. Beck filed concurrently herewith, all pleadings and papers on file

herein, and on such further evidence and argument as the Court may allow.

|| Dated: May 22, 2003 Respectfully submitted,

BECK, DE CORSO, DALY,
KREINDLER & HARRIS

A Professional Law Corporation

By mae

 

a
ERIC A. GRESSLER, Attorneys for Defendant,
Bluebonnet Savings Bank FSB

2

DEFENDANT BLUEBONNET SAVINGS BANK’S APPLICATION TO ADMIT MITCHELL BERGER PRO
HAC VICE, DECLARATIONS OF MITCHELL BERGER AND MARK E. BECK IN SUPPORT THEREOF

 

 
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Beck, De Corso, Daly,
Kreindier & Harris
A Professional Law Corporation
601 W. 5” Soreet, 12" Floor
Los Angeles, CA 90071-2025

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)8-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 17 of 50 Page ID #:618
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DECLARATION OF MITCHELL BERGER

I, Mitchell Berger, do hereby declare and state as follows:

1. Iam an attorney at law duly licensed to practice before all of the courts of
New York and the District of Columbia, among others. I am a partner with the firm of
Patton Boggs LLP, whose address is 2550 M Street, N.W., Washington, D.C. 20037,
(202) 457-6000. I submit this declaration in support of the attached Application to be
admitted pro hac vice to appear before this Court in this matter. This declaration is based
on my personal knowledge, and I could and would testify to its contents if called upon to
do so.

2. My residence address is 4719 Sedgwick Street, N.W., Washington, D.C.
20016 and my office address is 2550 M Street, N.W., Washington, D.C. 20037. I am not
a resident of California, am not regularly employed in California and am not regularly
engaged in substantial business, professional, or other activities in California.

3. I am an active member in good standing of the State Bars of New York and

the District of Columbia and have been admitted to practice before the following courts:

COURT DATE ADMITTED

New York February 1980
District of Columbia _ January 4, 1985

I also have been admitted to: the First Circuit Court of Appeals, the Second
Circuit Court of Appeals, the Third Circuit Court of Appeals, the Fourth Circuit Court of
Appeals, the Fifth Circuit Court of Appeals, the Seventh Circuit Court of Appeals, the
Ninth Circuit Court of Appeals, Court of Appeals for the District of Columbia Circuit,
Court of Appeals, Federal Circuit, U.S. District Court, Southern District of New York,
U.S. District Court, Eastern District of New York, U.S. District Court, Western District of
New York, U.S. District Court, District of Columbia, U.S. District Court, Northern
District of California, U.S. District Court, Eastern District of Texas, U.S. District Court,
Western District of Texas, and the Court of Federal Claims.

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DEFENDANT BLUEBONNET SAVINGS BANK’S APPLICATION TO ADMIT MITCHELL BERGER PRO
HAC VICE; DECLARATIONS OF MITCHELL BERGER AND MARK E. BECK IN SUPPORT THEREOF

 

 

 
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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 18 of 50 Page ID #:619

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A Professionai Law Corporation
601 W. 5” Street, 12 Fioor
Los Angeles, CA 90071-2025

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1 am currently in good standing and eligible to practice in each of the courts listed
above. I am not currently, and have never been, suspended or disbarred by any court or
administrative agency. I have not been denied admission to the court of any state or to
any federal court.

4, I have not filed any applications to appear pro hac vice in California in the
preceding two years.

5. Bluebonnet has retained and has designated as counsel in this matter Mark
E. Beck and the law firm of Beck, De Corso, Daly, Kreindler & Harris, A Professional
Law Corporation, whose address is 601 West Fifth Street, 12" Floor, Los Angeles,
California, 90071, (213) 688-1198. |

6. I am not a member of the State Bar of California, but I am familiar with and
agree to comply with the standards of professional conduct governing members of the
State Bar of California.

I declare under penalty of perjury, under the laws in the State of California, that the

foregoing is true and correct.

Executed this x $,lay of May, 2003 at Washington D.C.

_ MITCHELL BERGE

4

 

 

DEFENDANT BLUEBONNET SAVINGS BANK’S APPLICATION TO ADMIT MITCHELL BERGER PRO
HAC VICE; DECLARATIONS OF MITCHELL BERGER AND MARK E. BECK IN SUPPORT THEREOF

 
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Beck, De Corso, Daly,
Kreindler & Haris
A Professional Law Corporation
601 W. 5” Street, 12° Floor
Los Angeles, CA 90071-2025

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N8-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 19 of 50 Page ID #:620
© @
DECLARATION OF MARK E. BECK

I, Mark E. Beck, do hereby declare and state as follows:

1. I am an attorney at law duly licensed to practice before all of the courts of
the State of California, among others. I am a shareholder in Beck, De Corso, Daly,
Kreindler & Harris, A Professional Law Corporation, and attorney of record in this matter
for Defendant Bluebonnet. If called as a witness, I would testify to the following facts
from my personal knowledge.

2. Bluebonnet has retained and designated me and the law firm in which I am
a shareholder, Beck, De Corso, Daly, Kreindler & Harris, A Professional Law
Corporation, as counsel in this matter. I am an active member in good standing with the
State Bar of California. I maintain my office at 601 West Fifth Street, 12" Floor, Los
Angeles, California, 90071. |

3. The application fee of $50.00 for admitting Mitchell Berger pro hac vice in
this matter has been sent to the State Bar of California at its San Francisco office located
at 180 Howard Street, San Francisco, California, 94105.

I declare under penalty of perjury, under the laws in the State of California, that the

 
   

foregoing is true and correct.

Executed this ¢ Hf f day of May, 2003 at Los Angelgs

 

ZI
MARK E.BECK = {_

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DEFENDANT BLUEBONNET SAVINGS BANK’S APPLICATION TO ADMIT MITCHELL BERGER PRO

 

HAC VICE; DECLARATIONS OF MITCHELL BERGER AND MARK E. BECK IN SUPPORT THEREOF

 

 
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Beck, De Corso, Daly,
Kreindier & Harris
A Professional Law Corporation
601 W. 5” Street, 12” Floor
Los Angeles, CA 90071-2025

120045 |

08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 20 0f 50 Page ID #:621
PROOF OF SERVICE

Clayton v. Commercial Money Center
Case No. BC 253169

 

Iam a resident of the State of California, over the age of eighteen years, and not a party to the
within action. My business address is 601 W. 5" Street, 12" Floor, Los Angeles, California 90071-2025.
On May 27, 2003, I served the within documents.

DEFENDANT BLUEBONNET SAVINGS BANK’S APPLICATION TO ADMIT
MITCHELL BERGER PRO HAC VICE; DECLARATIONS OF MITCHELL
BERGER AND MARK E. BECK IN SUPPORT THEREOF

BY FAX: by transmitting via facsimile the document(s) listed above to the fax number(s) set
C] forth below on this date before 5:00 p.m. The transmission was reported as complete and
without error and was properly issued by the transmitting facsimile machine.

BY HAND: by personally delivering the document(s) listed above to the person(s) at the
address(es) set forth below.

BY MAIL: by placing the document(s) listed above in a sealed envelope with postage thereon
fully prepaid, in the United States mail at Los Angeles, California addressed as set forth below.

BY OVERNIGHT MAIL: by causing document(s) to be picked up by an overnight delivery
service company for delivery to the addressee(s) on the next business day.

BY PERSONAL DELIVERY: by causing personal delivery by of
the document(s) listed above to the person(s) at the address(es) set forth below.

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SEE ATTACHED SERVICE LIST

I am readily familiar with the firm’s practice of collection and processing correspondence for
mailing. Under that practice, it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of that party

served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
after date of deposit for mailing in affidavit.

I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.

Executed on May 27, 2003, at Los Angele’ California.

M a ao oe

Alexa Robison

 

 

 
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8eck, De Corso, Daly,
Kreindier & Harris
A Professional Law Corporation
601 W. 5* Street, 12” Fioor
Los Angeles, CA 90071-2025

120045 |

 

SERVICE LIST
Clayton v. Commercial Money Center

 

Case No. BC 253169

Thomas McCurnin, Esq.

Mark A. Newton, Esq.

Barton Klugman & Oetting, LLP

333 South Grand Avenue, Suite 3700
Los Angeles, CA 90071

Tel: (213) 621-4000

Fax: (213) 625-1832
temccurnin@bkolaw.com

mnewto@bkolaw.com
Attorneys for Plaintiffs Ronnie Clayton, etc.,

et al. ,

John Rapore, Esq.

Gilchrist & Rutter

1299 Ocean Avenue, Suite 900
Santa Monica, CA 90401

Tel: (310) 393-4000

Fax: (310) 393-4026

jr@grlawyers.com

_ Attorneys for Atlantic Coast Federal

George Wang, Esq.
Simpson, Thacher & Bartlett
425 Lexington Avenue

New York, NY 10017

Tel: (212) 455-2228

Fax: (212) 455-2502

gwang@stblaw.com
Attorneys for CitiBank

Stephen P. Soskin, Esq.

Charlston, Revich & Chamberlin
1840 Century Park East, Third Floor
Los Angeles, CA 90067

Tel: (310) 551-7000

Fax: (310) 203-9321

ssoskin@crcllp.com
Attorneys for Epic Funding —

Rhonda L. Nelson, Esq.
Severson & Werson

One Embarcadero, Suite 2600
San Francisco, CA 94111
Tel: (415) 398-3344

Fax: (415) 956-0439

rln@severson.com
Attorneys for Footbridge Limited Trust

Andrew K. Alper, Esq.

Thomas M. Robbins, Esq.

Frandzel Robins Bloom & Csato, L.C.
6500 Wilshire Boulevard, 17th Floor
Los Angeles, CA 90048-4920

Tel: (323) 852-1000

Fax: (323) 651-2577
aalper@frandzell.com

Attorneys for Ameriana Bank and Trust

Jay T. Hoplins, Esq.

Cobeaga Tomlinson LLP

228 South Fourth Street, Third Floor
Las Vegas, NV 89101

Tel: (702) 240-2499

Fax: (702) 240-2489

jhopkins@cotomlaw.com
Attorneys for Bank of Waukegan

Steven H. Bergman, Esq.

Simpson, Thacher & Bartlett

10 Universal City Plaza, Suite 1850
Universal City, CA 91608

Tel: (818) 755-9612

Fax: (818) 755-7009

sbergman@stblaw.com
Attorneys for CitiBank

Scott J. Hyman, Esq.

Adam A. Hutchinson, Esq.

Severson & Werson

19100 Von Karman, Suite 700

Irvine, CA 92612

Tel: (949) 442-7110

Fax: (949) 442-7118

aah@severson.com

sjh@severson.com

Attorneys for Footbridge Limited Trust

Maureen F. Hallahan, Esq.

Procopio, Cory, Hargreaves & Savitch
530 B Street, Suite 2100

San Diego, CA 92101

Tel: (619) 238-1900

Fax: (619) 235-0398

mfh@procopio.com
Attorneys for GE CAPITAL

 

 
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Beck, De Corso, Daly,
Kreindier & Harris
A Professional Law Corporation
601 W. 5” Street, 12” Floor
Los Angeles, CA 90071-2025

B. Casey Yim, Esq.

Pivo Halbreich Cahill & Yim
Attorneys & Trial Lawyers
1920 Main Street, Ste. 800
Irvine, CA 92614

Tel: (949) 253-2000

Fax: (949) 253-2099

beyim@phcv.com
Attorneys for Guardian Capital

Hilary Harp, Esq.

Powell Goldstein Frazer & Murphy LLP
191 Peachtree St., NE, 16th Floor
Atlanta, GA 30303-1736

Tel: (404) 572-4531

Fax: (404) 572-6999

hha fm.com

Attorneys for Net Bank

Laura Taylor, Esq. .

Sheppard Mullin Richter & Hampton LLP
501 West Broadway, 19" Floor

San Diego, CA 92101

Tel: (619) 338-6500

Fax: (619) 234-3815

Attorneys for Net Bank

John E. Peterson

Jory, Peterson, Watkins & Smith
555 West Shaw Avenue, C-1
Fresno, CA 93704

Tel: (559) 225-6700

Fax: (559) 225-3416

jep@jpws.com
Attorneys for United Security Bank

Jim Patterson, Esq.
Michelle C. Doolin, Esq.
Cooley Godward

4401 Eastgate Mall

San Diego, CA 92121
Tel: (858) 550-6000
Fax: (858) 550-6420
jpatterson@cooley.com

mdoolin@cooley.com
Attorneys for Royal Indemnity Company

 

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)8-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 22 of 50 Page ID #:623

SERVICE LIST
Clayton v. Commercial Money Center
Case No. BC 253169

Robert G. Campbell, Esq.

Cox, Castle & Nicholson, LLP
2049 Century Park East, 28th Floor
Los Angeles, CA 90067-3284

Tel: (310) 277-4222

Fax: (310) 277-7889

rcampbell@coxcastle.com
Attorneys for Lakeland Bank

John R. Pennington, Esq.

John D. Berchild, Jr., Esq.

Sheppard Mullin Richter & Hampton LLP
333 S. Hope Street, 48th Floor

Los Angeles, CA 90071

Tel: (213) 620-1780

Fax: (213) 620-1398

jpennington@smrh.com

jberchild@smrh.com
Attorneys for Net Bank

Jay T. Hoplins, Esq.

Cobeaga Tomlinson LLP

228 South Fourth Street, Third Floor
Las Vegas, NV 89101

Tel: (702) 240-2499

Fax: (702) 240-2489

jhopkins@cotomiaw.com
Attorneys for Riverway Bank

Christian Gascou, Esq. .

Ronald Hopkins, Esq.

Gascou Hopkins LLP

10990 Wilshire Boulevard, Suite 1280
Los Angeles, CA 90024

Tel: (310) 445-1816

Fax: (310) 445-1886

cgascou@gascouhopkins.com
rhopkins@gascouhopkins.com

Attorneys for American Motorists Insurance

Peter Wolfson, Esq.

Sonnenschein Nath & Rosethal

1221 Avenue of the Americas, 24" Floor
New York, NY 10020

Tel: (212) 768-6828

Fax: (212) 768-6700

pwolfson@sonnenschein.com
Attorneys for Royal Indemnity Company -

 

 
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Beck, De Corso, Daly,
Kreindier & Harris
A Professional Law Corporation
601 W. 5” Street, 12" Floor

 

Los Angeles, CA 90071-2025

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08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 23 of 50 Page ID #:624

SERVICE LIST
Clayton v. Commercial Money Center
Case No. BC 253169

Paul A. Guelpa, Esq.

Mitchell Silberberg & Knupp LLP
11377 West Olympic Boulevard
Los Angeles, CA 90064-1683
Tel: (310) 312-2000

Fax: (310) 312-3788
pag@msk.com

Attorneys for Ilinois Union

Michael Prough, Esq.

Morison-Knox, Holden, Melendez & Prough
500 Ygnacio Valley Road, Suite 450

Walnut Creek, CA 94596

Tel: (925) 974-5103

Fax: (925) 937-3272
mdp@morison-knox.com .

Attorneys for RLI Insurance

Dean P. Sperling, Esq.

201 East Sanpointe, Suite 220
Santa Ana, CA 92707

Tel: (714) 438-8090

Fax: (714) 438-8088

dean@sperlinglaw.com
Attorney for Stuart Allen

State Bar of California
180 Howard Street
San Francisco, CA 94105

Thomas T. Johnson, Esq.

Booth Mitchel & Strange LLP

3435 Wilshire Boulevard, 30th Floor
Los Angeles, CA 90010-2050

Tel: (213) 738-0100

Fax: (213) 380-3308
ttibms@aol.com

Attorneys for Safeco Insurance

Jeff Fulton, Esq.

Law Offices of Jeff Fulton

1545 Hotel Circle South, Suite 140
San Diego, CA 92108

Tel: (619) 688-0018

Fax: (619) 688-0088
wiefferyfulton@aol.com
Attorneys for U.S. BankCorp

Wendy Miller, Esq.

Harold P. Gewerter, Esq.,

228 South Fourth Street, Suite 101

Las Vegas, NV 89101

Tel: (702) 382-1714

Fax: (702) 382-1759

Wendymil@msn.com

Attorneys for Comemrcial Money Center,
Ron Fisher and Sterling Wayne Pirtle

 
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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 24 o0f 50 Page ID #:625

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BARTON, KLUGMAN & OETTING, LLP
333 SOUTH GRAND AVENUE

 

DATE

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DOCUMENT

SUITE 3700
LOS ANGELES, CALIFORNIA 90071

TELEPHONE (213) 621-4000

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MARK A. NEWTON, APC (State Bar No. 103762) | | ) yay
Barton, Klugman & Oetting, LLP

333 South Grand Avenue fe

Suite 3700

  

Los Angeles, California 90071
Telephone (213) 621-4000
Facsimile (213) 625-1832

Attorneys for Plaintiffs
RONNIE CLAYTON et al

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

RONNIE CLAYTON dba CLAYTON ) CASE NO. BC 253 169
TRUCKING; etc et al, )
) Assigned for All Purposes:
Plaintiffs, ) The Hon. Charles W. McCoy

Department “323”
NOTICE OF STATUS CONFERENCE

VS.

COMMERCIAL MONEY CENTER, INC.,

a Nevada Corporation; etc et al Date: June 10, 2003
Time: 10:00 am
Defendants. Place: Department “323”

 

TO THE ABOVE NAMED COURT AND ALL PARTIES AND THEIR RESPECTIVE
COUNSEL:

YOU ARE HEREBY NOTIFIED that the Court has set a Status Conference for
June 10, 2003 at 10:00 am in Department “323”. All Defendants, including Ronald Fisher
and Stirling Wayne Pirtle, are to attend. Plaintiff to give Notice.
Dated: May 16, 2003 BARTON, KLUGMAN & OETTING, LLP

By: DPavred DI-Lr2.
Thomas E. McCurnin
Attorney for Plaintiffs

RONNIE CLAYTON et al

 

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NOTICE OF STATUS CONFERENCE

 

 

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TELEPHONE (213) 621-4000

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MARK A. NEWTON, APC (State Bar No. 103762) MAY 21 2003
Barton, Kiugman & Octting, LLP
333 South Grand Avenue PCH & S, LLP

Suite 3700

Los Angeles, California 90071
Telephone (213) 621-4000
Facsimile (213) 625-1832

Attomeys for Plaintiffs
RO CLAYTON et al

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

RONNIE CLAYTON dba CLAYTON CASE NO. BC 253 169
TRUCKING; etc et al,
Assigned for Ali Purposes:

Plaintiffs, The Hon. Charles W. McCoy
Department “323”

vs.
NOTICE OF STATUS CONFERENCE ~

COMMERCIAL MONEY CENTER, INC.,

a Nevada Corporation; etc et al Date: June 10, 2003
Time: 10:00 am
Defendaats. Place: | Department “323”

 

TO THE ABOVE NAMED COURT AND ALL PARTIES AND THEIR RESPECTIVE
COUNSEL:

YOU ARE HEREBY NOTIFIED that the Court has set a Status Conference for
June 10, 2003 at 10:00 am in Department “323”. All Defendants, including Ronald Fisher
and Stirling Wayne Pirtle, are to attend. Plaintiff to give Notice.
Dated: May 16, 2003 BARTON, KLUGMAN & OETTING, LLP

By: L. Bi Wrl+2.
Thomas E, McCurnin
Attorney for Plaintiffs

RONNIE CLAYTON et al

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NOTICE OF STATUS CONFERENCE
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PROOF OF SERVICE

I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
not a party to the within action; my business address is 333 South Grand Avenue, 37th Floor, Los
Angeles, CA 90071-1599.

On May 20, 2003, I served the foregoing document entitled: NOTICE OF STATUS
CONFERENCE on all interested parties

C1 the original a true and correct copy thereof enclosed in sealed envelopes addressed as
follows:

Please see attached Service List
(BY MAIL)

O 1 deposited such envelope in the mail at Los Angeles, California. The envelope was
mailed with postage thereon fully prepaid.

I am "readily familiar" with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with U.S. postal service on that
same day with postage thereon fully prepaid at Los Angeles, California in the ordinary course of
business. I am aware that on motion of the party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for mailing in
affidavit.

O (STATE) I declare under penalty of perjury under the laws of the State of California that
the above is true and correct.

(FEDERAL) I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

This declaration was executed on May 20, 2003, at Los Angeles, California.

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t
KABIEN A. ESCANO

   

 
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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 28 of 50 Page ID #:629

SERVICE LIST Clayton, et al. vs. CMC, et al.
L.A.S.C. Case No. BC 253169
USBC Case No. AD 02-02064 KM

Plaintiffs

Plaintiffs Ronnie Clayton etc etal

Thomas E. McCurnin

Mark A. Newton

Barton, Klugman & Oetting
333 South Grand Ave.
Suite 3700

Los Angeles, CA 90071
Phone: (213) 621-4000
Fax: (213) 625-1832

tmcecurnin@bkolaw.com
mnewton@bkolaw.com

Individual Defendants

 

Ronald Fisher Stirling Wayne Pirtle
27092 Banbury Drive 4600 E. Sunset Rd., #222 -
Valley Center, CA 92082 Henderson, NV 89014
Lenders

Ameriana Bank and Trust _ Atlantic Coast Federal Bank of Waukegan
Andrew K. Alper John Rapore Jay T. Hopkins
Thomas M. Robbins Gilchrest & Rutter Cobeaga Tomlinson
Frandzel Robins Bloom 1299 Ocean Avenue 228 So. Fourth St.

& Csato Suite 900 Third Floor
6500 Wilshire Blvd., 17" FI. Santa Monica, CA 90401 Las Vegas, Nevada 89101
Los Angeles, CA 90048 Phone (310) 393-4000 Phone: (702) 240-2499
Phone: (323) 852-1000 Fax (310) 393-4026 Fax: (702) 240-2489
Fax: (323) 651-2577 jr@grlawyers.com jhopkins@cotomlaw.com

 

aalper@frandzel.com
q

\ee!

Bluebonnet Savings

Mark Beck
Eric A. Gressler
Beck, DeCorso Daly

& Kreindler
601 West Fifth St., 12" FI.
Los Angeles, CA 90071
Phone: (213) 688-1198
Fax: (213) 489-7532
egressler@beckdecorso.com

~ Epic Funding

Stephen P. Soskin
Charlston, Revich &
Chamberlin

1840 Century Park East
Third Floor

Los Angeles, CA 90067
Phone: (310) 551-7000
Fax (310) 203-9321

ssoskin@ecrcllp.com

GE Capital

Maureen F. Hallahan
Procopio Cory Hargreaves
& Savitch

530 B Street, Ste. 2100
San Diego, CA 92101
Phone: (619) 238-1900
Fax: (619) 235-0398

mfh@procopio.com

Net Bank

Hilary Harp

Powell Goldstein Frazer
& Murphy

191 Peachtree St., NE

Sixteenth Floor

Atlanta, Georgia 30303

Phone: (404) 572-4531

Fax: (404) 572-6999

hha fm.com

CitiBank

George Wang
Simpson, Thatcher & Bartlett
425 Lexington Ave.

New York, NY 10017

Phone (212) 455-2228

Fax (212) 455-2502

gwang@stblaw.com

Footbridge Limited Trust

Scott J. Hyman

Adam A. Hutchinson
Severson & Werson

19100 Von Karman, Ste. 700
Irvine, CA 92612

Phone: (949) 442-7110

Fax: (949) 442-7118
aah@severson.com

sjh@severson.com

Guardian Capital

B. Casey Yim

Pivo, Halbreich, Cahill &
Yim

Attorneys & Trial Lawyers
1920 Main Street, Ste. 800
Irvine, CA 92614

Phone: (949) 253-2000
Fax: (949) 253-2099

beyim@p hcy.com

Net Bank

John R. Pennington

John D. Berchild, Jr.

Sheppard Mullin Richter
& Hampton

333 So. Hope Street

Forty-Eighth Floor

Los Angeles, CA 90071

~ Phone: (213) 620-1780

Fax: (213) 620-1398
jpennington@smrh.com

yberchild@smrh.com

Case 2:08-cv-01755-PSG-VBK_ Document 3 Filed 03/14/08 Page 29 of 50 Page ID #:630

Citibank

Steven H.Bergman
Simpson Thacher & Bartlett
10 Universal City Plaza
Suite 1850

Universal City, CA 91608
Phone:(818) 755-9612

Fax: (818) 755-7009

sbergman@stblaw.com
Footbridge Limited Trust

Rhonda L. Nelson
Severson & Werson

One Embarcadero

Suite 2600

San Francisco, California
94111

Phone: (415) 398-3344
Fax: (415) 956-0439

rin@severson.com

Lakeland Bank

Robert G. Campbell

Cox Castle Nicholson
2049 Century Park East
28" FL.

Los Angeles, CA 90067
Phone: (310) 277-4222
Fax: (310) 277-7889
rcampbell@coxcastle.com

Net Bank

Laura Taylor, Esq

Sheppard Mullin Richter
& Hampton

501 West Broadway

19th Floor

San Diego, CA 92101

Phone: (619) 338-6500

Fax: (619) 234-3815

Unknown email
a?

Riverway Bank

Jay T. Hopkins

Cobeaga Tomlinson

228 So. Fourth St.

Third Floor

Las Vegas, Nevada 89101
Phone: (702) 240-2499
Fax: (702) 240-2489
jhopkins@cotomlaw.com

American Motorists Insurance

Christian J. Gascou

Gascou Hopkins, LLP

10990 Wilshire Blvd.,Ste.1280
Los Angeles, CA 90024
Phone: (310) 445-1816

Fax: (310) 445-1886
cgascou@gascouhopkins.com

Iilinois Union

Paul Guelpa

Mitchell Silberberg & Knupp
11377 West Olympic Blvd.
Los Angeles, CA 90064
Phone: (310) 312-2000

Fax: (310) 312-3100

pag@msk.com

United Security Bank

John E. Peterson

Jory, Peterson, Watkins &
Smith

555 West Shaw Ave.

C-1

Fresno, CA 93704

Phone (559) 225-6700
Fax (559) 225-3416
jep@jpws.com

Sureties
Royal Indemnity Company

Jim Patterson
Michelle C. Doolin
Cooley Godward
4401 Eastgate Mall
San Diego, CA 92121

~ Phone: (858) 550-6000

Fax: (858) 550-6420

jpatterson@cooley.com
mdoolin@cooley.com

Safeco Insurance

Thomas T. Johnson
Booth, Mitchel & Strange

3435 Wilshire Blvd., 30" Fl.

Los Angeles, CA 90010
Phone: (213) 738-0100
Fax: (213) 380-3308

ttibms@aol.com

Servicers

Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 30 of 50 Page ID #:631

Royal Indemnity Compan

Peter Wolfson

Sonnenschein Nath and
Rosethal

24th Floor

1221 Avenue of the Americas
New York City, NY 10020
Phone: (212) 768-6828

Fax: (212) 768-6700
pwolfson@sonnenschein.com

RLI Insurance

Michael Prough
Morison-Knox, Holden,
Melendez & Prough

500 Ygnacio Valley Road,
Suite 450

Walnut Creek, CA 94596
Phone: (925) 974-5103
Fax: (925) 937-3272
mdp(@Morison-Knox.com
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 31 0f 50 Page ID #:632

wl

z

U.S. Bancorp

Jeff Fulton

Law Offices of Jeff Fulton
1545 Hotel Circle South
Suite 140

San Diego CA 92108
Phone: (619) 688-0018
Fax (619) 688-0088

wjefferyfulton@aol.com

U.S. Bancorp Stuart Allen

Richard Levine Dean P. Sperling
330Washington Blvd. 201 East Sanpointe
#717 Suite 220

Los Angeles, CA 90292 Santa Ana, CA 92707
Phone: (310) 306-2553 Phone: (714) 438-8090
Fax (310) 306-8026 Fax: (714) 438-8088

richlevine@cox.net.com dean@sperlinglaw.com

Los Angeles Superior Court

Hon. Charles W. McCoy
Judge Department "308"
Civil Central West

Los Angles County Superior
Court

600-South Commonwealth
Los Angeles, CA 90005
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 32 of 50 Page ID #:633

Other Defendants/Interested Parties

 

U.S. Bankruptcy Trustee Counsel for Trustee

Richard M. Kipperman Jesse S. Finlayson, Esq.

Box 3939 Gibson, Dunn & Crutcher LLP
La Mesa, CA 91944 4 Park Plaza, Suite 1400
(619) 668-4508 Irvine, CA 92614-8557

Direct: (949) 451-3835
Direct Fax: (949) 475-4692

jfinlayson@gibsondunn.com

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SUITE 3700
LOS ANGELES, CALIFORNIA 90071

333 SOUTH GRAND AVENUE

TELEPHONE (213) 621-4000

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RECEIVED
MARK A. NEWTON, APC (State Bar No. 103762) | MAY 21 2003
Barton, Kiugman & Octting, LLP
333 South Grand Avenue PCH & S, LLP
Pee ell Calif 90071
os Angeles, California .
Telephone (313) 621-4000 : | TGS S2é6

Facsimile (213) 625-1832
( ) [ewer CH Pho

Attorneys for Plaintiffs
RONNIE CLAYTON et al

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

RONNIE CLAYTON dba CLAYTON CASE NO. BC 253 169
TRUCKING; etc et al,
Assi ned for All Purposes:
Plaintiffs, on. Charles W. McCoy

Department “323”

vs,
NOTICE OF STATUS CONFERENCE

COMMERCIAL MONEY CENTER, INC.,

a Nevada Corporation; etc et al Date: June 10, 2003
Time: 10:00 am
Defendaats. Place: Department “323”

 

TO THE ABOVE NAMED COURT AND ALL PARTIES AND THEIR RESPECTIVE

COUNSEL:

YOU ARE HEREBY NOTIFIED that the Court has set a Status Conference for
June 10, 2003 at 10:00 am in Department “323”. All Defendants, including Ronald Fisher
and Stirling Wayne Pirtle, are to attend. Plaintiff to give Notice.
Dated: May 16, 2003 BARTON, KLUGMAN & OETTING, LLP

Thomas E, McCurnin

Attorney for Plaintiffs
RONNIE CLAYTON et al

 

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NOTICE OF STATUS CONFERENCE

 

 
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ROOF OF SERVICE

I am employed in the County of Los Angeles, State of California. {am over the age of 18 and
not a party to the within action; my business address is 333 South Grand Avenue, 37th Floor, Los

Angeles, CA 90071-1599.

On May 20, 2003, I served the foregoing document entitled: NOTICE OF STATUS
CONFERENCE on all interested parties

[I] the original a true and correct copy thereof enclosed in sealed envelopes addressed as
follows:

Please see attached Service List
(BY MAIL)

C1 1 deposited such envelope in the mail at Los Angeles, Califomia. The envelope was
mailed with postage thereon fully prepaid.

[<] 1 am "readily familiar” with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with U.S. postal service on that
same day with postage thereon fully prepaid at Los Angeles, California in the ordinary course of
business. I am aware that on motion of the party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for mailing in

affidavit.

D (STATE) I declare under penalty of perjury under the laws of the State of California that
the above is true and correct.

(FEDERAL) I deulare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

This declaration was executed on May 20, 2003, at Los Angeles, California.

(Gc

L
KAREN A. ESCANO

 

 
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 35 of 50 Page ID #:636

_JUN-09-2003 MON 03:22 PM PROCOPIO, HARGRAVES

Plaintiffs Ronnie Clayton etc etal

Thomas E. McCurnin

Mark A. Newton

Barton, Klugman & Oetting
333 South Grand Ave.
Suite 3700

Los Angeles, CA 90071
Phone: (213) 621-4000

Fax: (213) 625-1832
tmecummin@bkolaw.com
mnewton@bkolaw.com

 

Ronald Fisher

 

27092 Banbury Drive
Valley Center, CA 92082

Ameriana Bank and Trust

FAX

SERVICE LIST

Plaintiffs

Individual Defendants

Stirling Wayne Pirtle

4600 E. Sunset Rd., #222
Henderson, NV 89014

Lenders

Atlantic Coast Federal

Andrew K. Alper John Rapore

Thomas M. Robbins Gilchrest & Rutter

Frandzel Robins Bloom 1299 Ocean Avenue
& Csato Suite 900

6500 Wilshire Blvd., 17° Fl.
Los Angeles, CA 90048
Phone: (323) 852-1000

Fax: (323) 651-2577

aalper@frandzel.com

Santa Monica, CA 90401
Phone (310) 393-4000
Fax (310) 393-4026

jr@grlawyers.com

NO, 619 515 3202

Clayton, et al. vs. CMC, et al.
L.A.S.C. Case No. BC 253169
USBC Case No. AD 02-02064 KM

Bank of Waukegan

Jay T. Hopkins

Cobeaga Tomlinson

228 So. Fourth St.

Third Floor

Las Vegas, Nevada 89101
Phone: (702) 240-2499
Fax: (702) 240-2489

jhopkins@cotomJaw.com

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Bluebonnet Savings

Mark Beck
Eric A. Gressler
Beck, DeCorso Daly

& Kreindler
601 West Fifth St., 12" FI.
Los Angeles, CA 90071
Phone: (213) 688-1193"
Fax: (213) 4&9-7532

egressler@buckdecorso.com
Epic Fundiny:

Stephen P. Soskin
Charlston, Revich &
Chamberlin

1840 Century Park East
Third Floor

Los Angeles, CA 90067
Phone: (310) 551-7000
Fax (310) 203-9321
ssoskin@crclip.com

 

GE Capital

Maureen F. Hallahan
Procopio Cory Hargreaves
& Savitch
530 B Street, Ste. 2100
San Diego, CA 92101
Phone: (619) 238-1900
Fax: (619) 235-0398
mfh@proco}yio.com

 

Net Bank

Hilary Harp

Powell Goldstein Frazer
& Murphy

191 Peachtree St., NE

Sixteenth Floor

Atlanta, Georgia 30303

Phone: (404) 572-4531.

Fax: (404) 572-6999

hharp@pefm.com

 

CitiBank

George Wang

Simpson, Thatcher & Bartlett
425 Lexington Ave.

New York, NY 10017

Phone (212) 455-2228

Fax (212) 455-2502

gwang@stblaw.com

Footbridge Limited Trust

Scott J. Hyman
Adam A. Hutchinson
Severson & Werson

19100 Von Karman, Ste. 700 .

Irvine, CA 92612
Phone: (949) 442-7110
Fax: (949) 442-7118
aah@severson.com

sjh(@severson.com

Guardian Capital

B. Casey Yim

Pivo, Halbreich, Cahill &
Yim

Attorneys & Trial Lawyers
1920 Main Street, Ste. 800
Irvine, CA 92614

Phone: (949) 253-2000
Fax: (949) 253-2099

beyim@phcy.com

Net Bank

John R. Pennington

John D, Berchild, Jr.

Sheppard Mullin Richter
& Hampton

333 So. Hope Street

Forty-Eighth Floor

Los Angeles, CA 90071

Phone: (213) 620-1780

Fax: (213) 620-1398

jpennington@smrh.com
jberchild@smrh.com

Citibank

Steven H.Bergman
Simpson Thacher & Bartlett
10 Universal City Plaza
Suite 1850

Universal City, CA 91608
Phone:(818) 755-9612

Fax: (818) 755-7009

sbergman@stblaw.com

Footbridge Limited Tru st

Rhonda L. Nelson
Severson & Werson ~
One Embarcadero

Suite 2600

San Francisco, California
94111

Phone: (415) 398-3344
Fax: (415) 956-0439
rin@severson.com

Lakeland Bank

Robert G. Campbell
Cox Castle Nicholson
2049 Century Park East

28" FL.

Los Angeles, CA 90067
Phone: (310) 277-4222
Fax: (310) 277-7889
rcampbell@coxcastle.com

‘Net Bank

Laura Taylor, Esq

Sheppard Mullin Richter
& Hampton

501 West Broadway

19th Floor

San Diego, CA 92101

Phone: (619) 338-6500

Fax: (619) 234-3815

Unknown email
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 37 of 50 Page ID #:638

 

cpascou@gascouho kins.com

Iinois Union

Paul Guelpa

Mitchell Silberberg & Knupp
11377 West Olympic Blvd.
Los Angeles, CA 90064
Phone: (310) 312-2000

Fax: (310) 312-3100

pagz@msk.com

Fax: (858) 550-6420

jpatterson@cooley.com
mdoolin(@cooley.co

Safeco Insurance

Thomas T, Johnson
Booth, Mitchel & Strange

3435 Wilshire Blvd., 30” FI.

Los Angeles, CA 90010
Phone: (213) 738-0100
Fax: (213) 380-3308
ttibms@aol.co

Servicers

ee JUN-08-2003 MON 03:23 PM PROCOPIO, HARGRAVES FAX NO, 619 515 3202 P, 06/08
iverway Bank United Security Bank
Jay T. Hopkins John E. Peterson
Cobeaga Toinlinson Jory, Peterson, Watkins &
228 So. Fourth St. Smith
Third Floor 555 West Shaw Ave.
Las Vegas, Nevada 89101 C-1
Phone: (702) 240-2499 Fresno, CA 93704
Fax: (702) 240-2489 Phone (559) 225-6700
jhopkins@cotomlaw.com Fax (559) 225-3416
jep@ipws.com
Sureties
American Motorists Insurance Royal Indemnity Company Royal Indemnity Company
Christian J. Gascou Jim Patterson Peter Wolfson
Gascou Hopkins, LLP Michelle C, Doolin Sonnenschein Nath and
10990 Wilshire Blvd.,Ste.1280 Cooley Godward Rosethal
Los Angeles, CA 90024 4401 Eastgate Mall 24th Floor
Phone: (310) 445-1816 San Diego, CA 92121 1221 Avenue of the Americas
Fax: (310) 445-1886 Phone: (858) 550-6000 New York City, NY 10020

Phone: (212) 768-6828
Fax: (212) 768-6700

pwolfson@sonnenschein.com

RL] Insurance

Michael Prough
Morison-Knox, Holden,
Melendez & Prough

500 Ygnacio Valley Road,
Suite 450

Walnut Creek, CA 94596
Phone: (925) 974-5103
Fax: (925) 937-3272

mdp@Morison-Knox.com
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 38 of 50 Page ID #:639

a JUN-09-2003 MON 03:23 PM PROGOPIO, HARGRAVES FAX NO. 619 515 3202 P. 07/08
U.S. Bancorp U.S. Bancorp Stuart Allen
Jeff Fulton Richard Levine Dean P. Sperling
Law Offices of Jeff Fulton 330Washirngton Blvd. 201 East Sanpointe
1545 Hotel Circle South #717 Suite 220
Suite 140 Los Angeles, CA 90292 Santa Ana, CA 92707
San Diego CA 92108 Phone: (310) 306-2553 Phone: (714) 438-8090
Phone: (619) 688-0018 Fax (310) 306-8026 Fax: (714) 438-8088
Fax (619) 688-0088 richlevine@cox.net.com dean@sperlinglaw.com

wieffery fults m@aol.com

Los Angeles Superior Court

Hon. Charles W. McCoy
Judge Department "308"
Civil Central West

Los Angles County Superior
Court

600.South Commonwealth
Los Angeles, CA 90005
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 39 of 50 Page ID #:640

 

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_JUN-09-2003 MON 03:23 PM PROCOPIO, HARGRAVES FAX NO. 619 515 3202 P, 08/08

Other Defendants/Interested Parties

U.S. Bankruptcy Trustee Counsel for Trustee

Richard M. Kipperman Jesse S. Finlayson, Esq.

Box 3939 Gibson, Dunn & Crutcher LLP
La Mesa, CA 91944 4 Park Plaza, Suite 1400
(619) 668-4508 Irvine, CA 92614-8557

Direct: (949) 451-3835
Direct Fax: (949) 475-4692

jfinlayson@gibsondunn.com

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Professional indexes & Files 600-422-9191 wenw.oroindexes.com @

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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 40 of 50 Page ID #:641

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BARTON, KLUGMAN & OETTING, LLP

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1} MARK A. NEWTON, APC (State Bar No. 103762) ooo
Barton, Klugman & Oetting, LLP
2 333 South Grand Avenue L C-
Suite 3700
3] Los Angeles, California 90071 ,
Telephone (213) 621-4000
411 Facsimile (213) 625-1832
5 || Attorneys for Plaintiffs
RONNIE CLAYTON et al
6
7
8 SUPERIOR COURT OF THE STATE OF CALIFORNIA
9 FOR THE COUNTY OF LOS ANGELES ~
10 |
11 || RONNIE CLAYTON dba CLAYTON ) CASE NO. BC 253 169
’ | TRUCKING; etc et al, )
=z 12 ) Assigned for All Purposes:
8 Bo Plaintiffs, ) The Hon. Charles W. McCoy
A : $ 13 Department “308” Civil Central West
2 #28 vs.
eases 14 ) NOTICE OF REMAND AND
jaa COMMERCIAL MONEY CENTER, INC., ) REQUEST FOR STATUS
o5 “% 15]| a Nevada Corporation; etc et al CONFERENCE
5 gE )
8 S "16 Defendants. )
a ge )
6 17
18 || TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL:
19 NOTICE IS HEREBY GIVEN that the above entitled matter has been remanded to
Ss 20 || the above captioried Court.
= 21 NOTICE IS FURTHER GIVEN that Plaintiffs request a status conference on May
— 22 || 16, 2003 at about 11:00 am (the date and time of a hearing on a Motion by counsel for

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je
< 23 Defendants Fisher and Pirtle to withdraw) to discuss a date for a deadline for filing

  

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= 24 || responsive pleadings and the timing and format of motions challenging the operative
; Complaint and to discuss the prior stay on discovery, and the timing of a resolution of the

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core issues raised in the Complaint, as previously discussed by the parties at the last status

conference.

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The current status is that this action was Removed from State Court last year, and

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NOTICE OF REMAND AND REQUEST FOR STATUS CONFERENCE

Bc

 

 
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BARTON, KLUGMAN & OETTING, LLP

333 SOUTH GRAND AVENUE

= Case 2j08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 42 of 50 Page ID #:643

SUITE 3700
LOS ANGELES, CALIFORNIA 90071

TELEPHONE (213) 621-4000

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finally Remanded back to State Court this month. Since the last status conference in State
Court, there are now 21 parties to this action.

Therefore it is hereby requested that the Court set a status conference before
responsive pleadings are required to be filed (and extend the time to file such responsive
pleadings until after that status conference), so that the Court may set a unified date by
which such responsive pleadings are to be filed, that a single hearing date can be scheduled
for any motions challenging the legal sufficiency of the Complaint, and that the Court set a
joint briefing schedule for such motions. .

The reason for this request is that there are approximately 21 parties to this action,
and without a status conference and a unified date for both responsive pleadings and a
hearing on motions, both the Court, the Defendants, and the Plaintiffs would expend
valuable legal time hearing duplicative motions.

The Plaintiffs further request that at this status conference, this Court consider
requiring any Defendant filing a motion challenging the operative Complaint be required
to file a unified motion with all other Defendants doing so, because the issues raised by
such motions challenging the operative Complaint are likely to be very duplicative, and
little will be served by requiring the Court and the Plaintiff to read, analyze, and respond to
20 similar, if not identical motions raising the same, or similar issues.

The Plaintiffs further request that at this status conference, this Court consider re-
imposing the stay on discovery previously imposed, and that the Court set a briefing
schedule for resolution of core issues, as previously set by this Court prior to the removal
of this action into Bankruptcy Court.

Dated: April 4 2003 BARTON, KLUGMAN & OETTING, LLP

at
By: Thad dy cf.
Thomas E. McCurnin
Attorney for Plaintiffs
RONNIE CLAYTON et al

-2-
NOTICE OF REMAND AND REQUEST FOR STATUS CONFERENCE

 
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CLERK U.S. BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORR ®
- —_DEPL™

 

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF CALIFORNIA
325 West F Street, San Diego, California 92101-6991

 

In Re . :
Commercial Money Center Inc.

BANKRUPTCY NO. 02-9721-H7
Debtor.

 

Ronnie Clayton et al
ADVERSARY NO. 02-90467
Plaintiff (s)

 

Commercial Money Center et al

Defendants (s)

 

 

NOTICE OF [ ] TRANSFER [x ] REMAND OF PROCEEDINGS
TO THE ATTORNEYS FOR THE ABOVE-ENTITLED PLAINTIFF(S) AND DEFENDANT(S):
You are hereby notified that pursuant to the order of this Court entered on_4-24-03
The above-entitled proceeding has been remanded to the following Court [set forth full name of court and location

of the clerk’s office}:

Los Angeles Superior Court

Hon. Charles W. McCoy

Judge Department 308

Civil Central West

Los Angeles County Superior Court
600 South Commonwealth

Los Angeles CA 90005

Please file all further papers concerning this remanded proceeding with that office.

DATED: 4-24-03 Barry K. Lander, Clerk

By: J€ (gn , Deputy Clerk

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CSD 3034
- cs 4982: PR GY-94 7 PSE SG;VBK Document 3 Filed 03/14/08 Page 44 of 50 Page ID #:645

%S CERTIFICATE OF SERVICE ®

|, the undersigned, a Deputy Clerk in the office of the Clerk of the United States Bankruptcy Court for the Southern
District of California, hereby certify that a copy of the within NOTICE OF TRANSFER/REMAND. OF PROCEEDINGS was
served this date by mail upon the following parties in interest:

[set forth names and addresses of persons served] attached behind

DATED: 4-24-03 Barry K. Lander, Clerk

By: JE tage : , Deputy Clerk

CSD 3034
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) %

SERVICE LIST

Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 45 of 50 Page ID #:646

Clayton, et al. vs. CMC, et al.
L.A.S.C. Case No. BC 253169

USBC Case No. AD 02-02064 KM

Plaintiffs

‘Plaintiffs Ronnie Clayton etc et al —

Thomas E. McCurnin

Mark A. Newton

Barton, Klugman & Oetting
333 South Grand Ave.
Suite 3700

Los Angeles, CA 90071
Phone: (213) 621-4000
Fax: (213) 625-1832

tmccurnin@bkolaw.com
mnewton@bkolaw.com

Ameriana Bank and Trust

Andrew K. Alper
Thomas M. Robbins
Frandzel Robins Bloom

& Csato
6500 Wilshire Blvd., 17" FI.
Los Angeles, CA 90048
Phone: (323) 852-1000
Fax: (323) 651-2577

aalper@frandzel.com

Bluebonnet Savings

Mark Beck
Eric A. Gressler
Beck, DeCorso Daly

& Kreindler
601 West Fifth St., 12" Fl.
Los Angeles, CA 90071
Phone: (213) 688-1198
Fax: (213) 489-7532
egressler@beckdecorso.com

Lenders
Atlantic Coast Federal

John Rapore

Gilchrest & Rutter

1299 Ocean Avenue
Suite 900

Santa Monica, CA 90401
Phone (310) 393-4000
Fax (310) 393-4026

jr(@grlawyers.com

CitiBank

George Wang

Simpson, Thatcher & Bartlett
425 Lexington. Ave.

New York, NY 10017

Phone (212) 455-2228

Fax (212) 455-2502

gwang@stblaw.com

Bank of Waukegan

Jay T. Hopkins

Cobeaga Tomlinson

228 So. Fourth St.

Third Floor

Las Vegas, Nevada 89101
Phone: (702) 240-2499
Fax: (702) 240-2489
jhopkins@cotomlaw.com

Citibank

Steven H.Bergman
Simpson Thacher & Bartlett
10 Universal City Plaza
Suite 1850

Universal City, CA 91608:
Phone:(818) 755-9612

Fax: (818) 755-7009

sbergman@stblaw.com
“Epic Funding

Stephen P. Soskin
Charlston, Revich &
Chamberlin |

1840 Century Park East
Third Floor

Los Angeles, CA 90067
Phone: (3.10) 551-7000
Fax (310) 203-9321

ssoskin@crcllp.com

GE Capital

Maureen F. Hallahan
Procopio Cory Hargreaves
& Savitch

530 B Street, Ste. 2100
San Diego, CA 92101
Phone: (619) 238-1900
Fax: (619) 235-0398

mfh@procopio.com

Net Bank

Hilary Harp

Powell Goldstein Frazer
& Murphy

191 Peachtree St., NE

Sixteenth Floor

Atlanta, Georgia 30303

Phone: (404) 572-4531

Fax: (404) 572-6999

hharp@pgfm.com

Riverway Bank

Jay T. Hopkins

Cobeaga Tomlinson

228 So. Fourth St.

Third Floor

Las Vegas, Nevada 89101
Phone: (702) 240-2499
Fax: (702) 240-2489
jhopkins@cotomlaw.com

Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08

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Footbridge Limited Trust

Scott J. Hyman

Adam A. Hutchinson
Severson & Werson

19100 Von Karman, Ste. 700
Irvine, CA 92612

Phone: (949) 442-7110

Fax: (949) 442-7118

aah@severson.com
sjh@severson.com

Guardian Capital

B. Casey Yim

Pivo, Halbreich, Cahill &
Yim

Attomeys & Trial Lawyers
1920 Main Street, Ste. 800
Irvine, CA 92614

Phone: (949) 253-2000
Fax: (949) 253-2099

bcyim@phcy.com

Net Bank

John R. Pennington

John D. Berchild, Jr. —

Sheppard Mullin Richter
& Hampton

333 So. Hope Street

Forty-Eighth Floor

Los Angeles, CA 90071

Phone: (213) 620-1780

Fax: (213) 620-1398

jpennington@smrh.com
jberchild@smrh.com

United Secunty Bank

John E. Peterson

Jory, Peterson, Watkins &
Smith

555 West Shaw Ave.

C-1

Fresno, CA 93704

Phone (559) 225-6700
Fax (559) 225-3416

jep@jpws.com

Page 46 of 50 Page ID #:647

Footbridge Limited Trust

Rhonda L. Nelson
Severson & Werson

One Embarcadero

Suite 2600

San Francisco, California
94111

Phone: (415) 398-3344
Fax: (415) 956-0439

rln@severson.com

Lakeland Bank

Robert G. Campbell

Cox Castle Nicholson
2049 Century Park East
28" FI.

Los Angeles, CA 90067
Phone: (310) 277-4222
Fax: (310) 277-7889
rcampbell@coxcastle.com

Net Bank

Laura Taylor, Esq

Sheppard Mullin Richter
& Hampton

501 West Broadway

19th Floor

San Diego, CA 92101

Phone: (619) 338-6500

Fax: (619) 234-3815

Unknown email
American Motorists Insurance

Christian J. Gascou

Gascou Hopkins, LLP

10990 Wilshire Blvd.,Ste.1280
Los Angeles, CA 90024
Phone: (310) 445-1816

Fax: (310) 445-1886
cgascou@gascouhopkins.com

Safeco Insurance

Thomas T. Johnson

Booth, Mitchel & Strange
3435 Wilshire Blvd., 30" FI.
Los Angeles, CA 90010
Phone: (213) 738-0100

Fax: (213) 380-3308

ttibms(@aol.com

U.S. Bancorp

Jeff Fulton

Law. Offices of Jeff Fulton
1545 Hotel Circle South
Suite 140

San Diego CA 92108
Phone: (619) 688-0018
Fax (619) 688-0088

wiefferyfulton@aol.com

Sureties
Royal Indemnity Company

Jim Patterson

Michelle C. Doolin
Cooley Godward

4401 Eastgate Mall
San Diego, CA 92121
Phone: (858) 550-6000
Fax: (858) 550-6420

jpatterson@cooley.com
mdoolin@cooley.com

RLI Insurance

Michael Prough
Morison-Knox, Holden,
Melendez & Prough

500 Ygnacio Valley Road,
Suite 450

Walnut Creek, CA 94596
Phone: (925) 974-5103
Fax: (925) 937-3272
mdp@Morison-Knox.com

Servicers
Stuart Allen

Dean P. Sperling

201 East Sanpointe
Suite 220

Santa Ana, CA 92707
Phone: (714) 438-8090
Fax: (714) 438-8088

dean@sperlinglaw.com

Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 47 of 50 Page ID #:648

Illinois Union

‘ Paul Guelpa

Mitchell Silberberg & Knupp
11377 West Olympic Blvd.
Los Angeles, CA 90064
Phone: (310) 312-2000

Fax: (310) 312-3100

ag(@msk.com

Los Angeles Superior Court

Hon. Charles W. McCoy
Judge Department "308" Civil

‘Central West

Los Angles County Superior
Court

600 South Commonwealth
Los Angeles, CA 90005
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 48 of 50 Page ID #:649

| %

Commercial Money Center
Ron Fisher

Sterling Wayne Pirtle

Wendy E. Miller

Harold P. Gewerter

228 So. Fourth St.,

Suite 101

Las Vegas, Nevada 89101
Phone: (702) 382-1714
Fax: (702) 382-1759

wendymil@msn.com

W.AWorking\Newton\CMC Proof of Service List.3-26-03.wpd

U.S. Bankruptcy Trustee

Richard M. Kipperman
Box 3939

La Mesa, CA 91944
(619) 668-4508

Other Defendants/Interested Parties

Counsel for U.S. Trustee

Jesse S. Finlayson, Esq.
Gibson, Dunn & Crutcher LLP
4 Park Plaza, Suite 1400
Irvine, CA 92614-8557
Direct: (949) 451-3835
Direct Fax: (949) 475-4692

ifinlayson@gibsondunn.com
Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 49 of 50 Page ID #:650

vos

   

CSD 3050 (12/04/00)

 

Name, Address, Telephone No -D. No.

THOMAS E. MCCURNIN~

Barton, Klugman & Oetting, LLP
333 So. Grand Ave., Ste. 3700
Los Angeles, CA 90071-1599
(213) 621-4000

ENTERED

 

  

FILED

 

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CLERK U.S. BANKRUPTCY COURT
UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF CALIFORNIA

SOUTHERN DISTRICT OF CALIFORNIA BY
325 West "F" Street, San Diego, California 92101-6991 3 DEPUTY

 

 

 

 

In Re COMMERCIAL MONEY CENTER, INC.
BANKRUPTCY NO. 92-9721-H7

Debtor.

RONNIE CLAYTON, etc., et al., 02-90467

ADVERSARY NO.
Plaintiff (s)

Vv

COMMERCIAL MONEY CENTER etc., et al.

Defendants (s)

 

NOTICE OF ENTRY OF JUDGMENT OR ORDER

 

TO THE PARTIES IN INTEREST NAMED BELOW: : 5 _
You are hereby notified that on . this Court
entered in the docket for the above-entitled case the following Judgment {or Order] to wit:
PLemé nk
I hereby certify that on this date a copy of this notice was mailed to the following parties in interest: {check as appropriate]
[ ] UNITED STATES TRUSTEE, Department of Justice, 402 West Broadway, Suite 600, San Diego, CA 92101
[ ] THOMAS H. BILLINGSLEA, JR., 530 "B" Street, Suite 1500, San Diego, CA 92112
(Chapter 13 Trustee for cases numbered 90-08445 or lower and ODD numbers beginning with 92-01217)
{ } DAVID L. SKELTON, 600 “B” Street, Suite 2000, San Diego, CA 92101-4507
(Chapter !3 Trustee for cases numbered 90-08446 to 92-01215 and EVEN numbers beginning with 92-01216)
{ J Chapter 7 Trustee:
and in addition: [Continue on reverse, if necessary]
SEE ATTACHED SERVICE LIST
DATED: koe . Barry K. Lander, Clerk
wee ‘ PhS
SULLY
By: € i, Deputy Clerk

 

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Case 2:08-cv-01755-PSG-VBK Document 3 Filed 03/14/08 Page 50 o0f50 Page ID #:651

 

Clayton, et al. vs. CMC, et al.
L.A.S.C. Case No. BC 253169

USBC Case No. AD 02-02064 KM

Plaintiffs Ronnie Clayton etc et al

 

Thomas E. McCurnin

Mark A. Newton

Barton, Klugman & Oetting
333 South Grand Ave.
Suite 3700

Los Angeles, CA 90071
Phone: (213) 621-4000
Fax: (213) 625-1832

tmccurnin@bkolaw.com
- mnewton@bkolaw.com

Ameriana Bank and Trust

Andrew K. Alper
Thomas M. Robbins
Frandzel Robins Bloom

& Csato
6500 Wilshire Blvd., 17" FI.
Los Angeles, CA 90048
Phone: (323) 852-1000
Fax: (323) 651-2577

aalper@frandzel.com

Bluebonnet Savings

Mark Beck
Eric A. Gressler
Beck, DeCorso Daly

& Kreindler
601 West Fifth St., 12" FI.
Los Angeles, CA 90071
Phone: (213) 688-1198
Fax: (213) 489-7532
egressler(@beckdecorso.com

SERVICE LIST
Plaintiffs .
Lenders

Atlantic Coast Federal

John Rapore

Gilchrest & Rutter

1299 Ocean Avenue
Suite 900

Santa Monica, CA 90401
Phone (310) 393-4000
Fax (310) 393-4026

jr@grlawyers.com

CitiBank

George Wang

Simpson, Thatcher & Bartlett
425 Lexington Ave.

New York, NY 10017

Phone (212) 455-2228

Fax (212) 455-2502

gwang@stblaw.com

Bank of Waukegan

Jay T. Hopkins

Cobeaga Tomlinson

228 So. Fourth St.

Third Floor

Las Vegas, Nevada 89101
Phone: (702) 240-2499
Fax: (702) 240-2489
jhopkins@cotomlaw.com

Citibank

Steven H.Bergman
Simpson Thacher & Bartlett
10 Universal City Plaza
Suite 1850

Universal City, CA 91608
Phone:(818) 755-9612

Fax: (818) 755-7009

sbergman@stblaw.com
